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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 ALPHONSO NICHOLAS FAGGIOLO,

                        Plaintiff,
                                                           CIVIL ACTION
        v.                                                 NO. 23-1904

 COUNTY OF DELAWARE et al.,

                        Defendants.


                                         ORDER

       AND NOW, this 25th day of September 2023, upon consideration of counsel for

Defendants’ Letter requesting rescheduling of the October 4, 2023 Motions Hearing (Doc. No.

17), it is ORDERED that the October 4, 2023 Motions hearing is rescheduled to October 31,

2023 at 2:00 p.m. in Courtroom 13A, United States Courthouse, 601 Market Street,

Philadelphia, Pennsylvania.



                                                 BY THE COURT:

                                                 /s/ Joel H. Slomsky
                                                 _______________________________
                                                 JOEL H. SLOMSKY, J.
